Case 2:04-Cr-20309-BBD Document 60 Filed 08/26/05 Page 1 of 2 Page|D 57

 

IN THE UNITED sTATEs DISTRICT COURTM By_ _____ __m
FoR THE WESTERN DISTRICT oF TENNESSEE
WESTERN DIVISION 05 AUG 6 AH 6= ga
UNITED s'rATEs 0F AMER!CA ) . , i
’ ) w or n norms
Piaintiff )
v. ) Case No. 04-20309 D
)
RoBERT LoRD, )
)
Defendant )
)

 

ORDER

 

Considering the Motion to Withdraw as Counsel for Purposes of Appeal, it is hereby
Ordered, Adjudged, and Decreed that:

Lee Gerald, Counsel for Defendant is HEREBY removed from further representation of
Robert Lord. The Court finds on statements of Defendant and the pre-sentence report that Defendant
is indigent Accordingly, the Court instructs that Criminal Justice Act counsel be appointed to

prosecute Defendant’s appeal.

1T ls so 0RI)ERED this QZQ/ day ofAugusr, 2005.

 

UNITED STATES DISTRICT COURT

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UNITED sATE 'sT'IIC COURT - WESTERN DISTRCT OFTENNESSEE

Notice of Distribution

This notice confirms a copy of the document docketed as number 60 in
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Honorable Bernice Donald
US DISTRICT COURT

